Case: 4:18-cv-01566-JAR Doc. #: 200 Filed: 08/03/23 Page: 1 of 2 PageID #: 5016



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI

DEMETRIUS THOMAS,                              )
                                               )
       Plaintiff,                              )
                                               )     Case No. 4:18-cv-1566-JAR
v.                                             )
                                               )
CITY OF SAINT LOUIS, MISSOURI, et al.,         )
                                               )
       Defendants.                             )

                              STIPULATION OF DISMISSAL

       Plaintiff Demetrius Thomas and Defendants City of Saint Louis, Missouri, Scott

Aubuchon, Patrick Daut, Samuel Gilman, Daniel Howard, Randy Jemerson, Matthew Karnowski,

Bill Kiphart, Nicholas Lee, Trenton Lee, Brian Lemons, Gerald Leyshock, Tom Long, Timothy

McNamara, Lawrence O’Toole, Joseph Rodriguez, Brian Rossomanno, and Timothy Sachs

(“Defendants”), hereby stipulate and agree that the claims of Plaintiffs against Defendants are

dismissed with prejudice.

Date: August 3, 2023                               Respectfully submitted,

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                                                   CITY COUNSELOR
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Case: 4:18-cv-01566-JAR Doc. #: 200 Filed: 08/03/23 Page: 2 of 2 PageID #: 5017




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